             Case 1:20-cr-00330-AJN Document 319 Filed 08/18/21 Page 1 of 3



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                                                   August 18, 2021

Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re: United States v. Ghislaine Maxwell
                                 S2 20 Cr. 330 (AJN)

Dear Judge Nathan;

     I write to update the Court regarding MDC ongoing interference with attorney-client
communication between Ghislaine Maxwell and her counsel.

       Since December 2019, video teleconferences (“VTCs”) between Ms. Maxwell and her counsel
have been conducted via defense counsel’s WebEx platform. There were no problems with VTCs with
the exception of when the MDC placed the VTC monitor inside a box with a screen, which severely
impacted Ms. Maxwell’s ability to see counsel and documents shown to her. That issue, which arose on
June 14, 2021, was resolved between defense counsel and the MDC.

        However, on August 6, 2021, MDC Legal sent counsel an email stating that starting Monday
(August 9th) we could no longer use defense counsel’s WebEx platform for the VTCs, and instead had to
use any of four Zoom access codes provided by the MDC. When questioned why the platform was
being changed from WebEx to Zoom, MDC Legal stated the VTC platform was changed due to
complaints made by Ms. Maxwell. Upon information and belief, the complaints concerned visual
evidence that someone on MDC’s end of the WebEx connection, other than Ms. Maxwell, appeared on
the screen as a VTC participant called “NER/BRO,” adjusted the volume during the VTC, and moved
the viewing box used to view documents on the screen. During the past several weeks, interruption in
Ms. Maxwell’s VTC signal and bandwidth suggested that her connection was split, causing her VTC
sessions to go in and out, and her screen often turned green and became blurry. No other participants
experienced such disruption.

        When Ms. Maxwell raised these concerns to various staff members, no one seemed surprised.
The fact that MDC immediately provided a “more secure” link (in their words) suggests there was some
type of breach or interference with the attorney-client VTC which impinged upon confidentiality of
privileged attorney-client communication and is placing an on-going chill on communication between
Ms. Maxwell and her defense team.

       It is my understanding that the new MDC Zoom platform does not preclude third parties who
have the access information to the Zoom “Courtrooms” from interfering (inadvertently or intentionally)
with Ms. Maxwell’s privileged communication. That concern manifested itself on August 12th when
         Case 1:20-cr-00330-AJN Document 319 Filed 08/18/21 Page 2 of 3




third parties accessed the Zoom room used by Ms. Maxwell and counsel. This breach was
reported to, and I believe witnessed by, MDC staff, including an MDC technician named Leon
who is tasked with dealing with Ms. Maxwell’s electronics issues.

         By email dated August 12th to MDC Legal, with government counsel copied, I reported
that this purported breach severely impacts confidential privileged attorney-client
communication and is especially concerning in this high-profile case. I requested that the VTC
revert to the original WebEx platform controlled by defense counsel.

       In an email response, dated August 13th, MDC Legal stated:

       There was a miscommunication on our end internally. There was no
       breach. The address provided was a very secure line, however, it was
       already one being used. We are creating a line as secure as possible.
       We are hoping for this to be complete by the 9:30 scheduled call, but I
       cannot confirm it will be ready by then.

        On August 16th, I again emailed MDC Legal, with government counsel copied,
requesting clarification as to why the VTC is still not proceeding, as it did not on Friday, and
renewed my request that VTCs be reinstated on defense counsel’s WebEx platform because the
substituted Zoom platform is not secure and seems to have caused cancellation of Ms. Maxwell’s
VTCs. I also informed MDC Legal, with government counsel copied, that during my in-person
visit with Ms. Maxwell on Saturday, August 14th, both Ms. Maxwell and I were told we could
not pass documents. This restriction frustrated and affected the productivity of a four-hour visit.

       In a reply email later that day, MDC Legal stated:

       Please understand this is not a simple process and may take a few days.
       With that said you have had access to your client via telephone.
       Additionally, as you have had weekend visit on weekend with Ms. Maxwell,
       we can gladly arrange for the same on any day moving forward.

       As far as your weekend legal visit- the staff who did not allow the
       passing of legal documents have been informed of the appropriate
       instructions.

        The restrictions placed on Ms. Maxwell, including limiting the quantity of legal
documents she may bring to the VTC room or day room and the prohibition on review of
documents during in-person legal conferences- coupled with problems with conducting
confidential legal conference VTCs - has limited Ms. Maxwell’s ability to prepare for trial. Legal
calls do not suffice because we cannot share documents. For example, Ms. Maxwell received
new discovery today and yet again a significant amount is not viewable on the hardware and
software provided by the government. Because we cannot share documents, that discovery
remains unviewable by Ms. Maxwell. Further, ongoing delays in bringing Ms. Maxwell to the
day room continue, which reduces the time she is permitted to work on her case and limitations



                                                2
         Case 1:20-cr-00330-AJN Document 319 Filed 08/18/21 Page 3 of 3




of the quantity of legal materials she is permitted to use during working session severely hamper
her ability to prepare her defense for trial.

       On August 17th, the third day without VTC for Ms. Maxwell and counsel, I told MDC
Legal that the defense has reason to be concerned that VTCs between Ms. Maxwell and counsel
may have been tape recorded by the MDC, a concern that accords with our belief that there has
been inference with the VTCs on the MDC’s end. Notably, when Ms. Maxwell reported to
MDC staff her concern that VTCs were being taped, she received no response. Likewise,
counsel have received no response from MDC Legal regarding this concern.

       As of the writing of this letter, there has been no resumption of VTCs, and the MDC has
provided no information.

        Any interference by the MDC, BOP, or other government entity with confidential
privileged communication between Ms. Maxwell and her counsel is a serious breach of BOP
policy, professional ethics, ABA standards and a violation of Ms. Maxwell’s constitutional
rights. Further, it is seriously impacting her ability to prepare for trial, a situation already
compromised by the conditions of her detention.

       Based on the foregoing, I request that the Court direct MDC Legal to show cause
          § Why the VTC platform has been changed.
          § Why resumption of VTCs has been delayed.
          § Why VTCs cannot be reinstated on defense counsel’s WebEx platform.

      Further, it is requested that MDC legal provide a sworn statement regarding whether any
VTCs between Ms. Maxwell and counsel have been interfered with, listened to, and/or recorded.

       Your consideration is greatly appreciated.

                                                      Very truly yours,

                                                      /s/

                                                      BOBBI C. STERNHEIM

cc: All counsel




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